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               DISTRICT COURT OF THE VIRGIN ISLANDS
               DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
                v.                   )    Criminal No. 2016-39
                                     )
DELLANA MAGNER,                      )
                                     )
                Defendant.           )
                                     )

ATTORNEYS:

Ronald Sharpe, United States Attorney
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United States Attorney’s Office
St. Thomas, VI
     For the United States of America,

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Jeffrey B. Moorehead
St. Croix, VI
     For defendant Dellana Magner.


                                  ORDER
GÓMEZ, J.

      Before the Court is the application of Dellana Magner

(“Magner”) to waive her speedy trial. For the reasons stated

herein, the time to try this case is extended up to and

including April 30, 2017.

      While the Speedy Trial Act requires that a defendant be

tried within seventy days of indictment, the Court specifically

finds that extending this period would be in the best interest
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of justice for several reasons.      First, without an extension,

Magner would be denied reasonable time necessary to explore plea

options with her attorney.     Second, the defendant made this

request with the advice and consent of counsel.

      Consistent with these concerns, the United States Court of

Appeals for the Third Circuit has recognized that "whether or

not a case is 'unusual' or 'complex,' an ends of justice

continuance may in appropriate circumstances be granted."

United States v. Fields, 39 F.3d 439, 444 (3d Cir. 1994)(citing

United States v. Dota, 33 F.3d 1179(9th Cir. 1994)("An ends of

justice continuance may be justified on grounds that one side

needs more time to prepare for trial . . . even though a case is

not complex")); see also United States v. Brooks, 697 F.2d 517,

522 (3d Cir. 1982), cert. denied, 460 U.S. 1071(1983)(no abuse

of discretion where district court found that          multiple count,

multiple defendant "case was complex and required additional

time for adequate preparation."); United States v. Lattany, 982

F.2d 866, 883 (3d Cir. 1992)("district court did not abuse its

discretion [by delaying trial] to give counsel . . . opportunity

to . . . decid[e] upon and prepar[e] an appropriate defense.").

      The premises considered; it is hereby

      ORDERED that the time beginning from the date of this order

granting an extension through April 30, 2017, shall be excluded
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in computing the time within which a trial must be initiated

pursuant to 18 U.S.C. § 3161.



                                        S\
                                                Curtis V. Gómez
                                                District Judge
